Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 1 of 21




 UNITED STATES DISTRICT COURT
 WESTERNDISTRICT OF NEWYORK

 CHRISTINE SARACENI,

                   Plaintiff,
                                                  FIRSTAMENDED
                                                  COMPLAINT
       V.
                                                  Case No. : 19-cv-1152

 M&T BANK CORPORATION,

                   Defendant.



       Plaintiff, Christine Saraceni, by and through her attorneys, Hagerty &

 Brady, for her Fu-st Amended Complaint in the above-entided acdon, alleges

 as follows, upon information and belief:

                                PARTIES

       1.    PlaintiffChristine Saraceni("Plaintiff") is an individualresidingin

 Batavia, New York.

       2.    DefendantM&T Bank Corporation ("Defendant") is a NewYork

 corporation with a principal place ofbusiness located m Buffalo, New York.

                      JURISDICTIONAND VENUE

       3.    This is an action seekmg damages for breach of contract, wrongful

 termination of severance benefits under the Employment Retirement Income

 Security Act of 1974 ("ERISA"), wrongful termination of health insurance
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 2 of 21




 benefits under ERISA, failure to provide notices as required by ERISA, and

 statutory penalties under ERISA.

       4.    This Court has subject matter jurisdiction over this lawsuit

 pursuant to federal question jurisdiction, 28 U. S. C. §1331, because, under 29

 U. S. C. § 1132(e)(l), district courts of the United States have exclusive

 jurisdiction of civil actions brought under 29 U. S. C. § 1132. This Court has

 subject matter jurisdiction of the state law claim in this lawsuit pursuant to 28

 U. S.C. § 1367.

       5.     Venue is proper in the Western District of New York, because,

 under 29 U. S. C. § 1132(e)(2), the action may be brought where the qualifying

 plan is admmistered, where the breach took place, or where the defendant

 resides or may be found. The Western District ofNew York is the appropriate

 venue under any of these statutory criteria.

                          FACTUAL ALLEGATIONS

       6.    Plaintiff is a former employee of Defendant.

       7.    Plamtiff first became employed by Defendant in June of 2008, at

 which time she was hired to sell reverse mortgages for Defendant.

       8.    During Plaintiff's employment orientation, she was asked to

 prepare a list ofnames andaddresses ofher fhends, family, andacquaintances,

 so that Defendant could send them a postcard announcing her employment.
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 3 of 21




        9     Plaintiff prepared a spreadsheet of the names and addresses of

 family, friends, and acquaintances (the "Spreadsheet"). The Spreadsheet was

 created by PlamtifFand last modified in the summer of 2008. Plaintiff created

 the spreadsheet using only publicly available information and mfonnation that

 was available to her prior to her employment at Defendant.

        10.   None of the mformation contained in the Spreadsheet was

 obtained as a result ofPlaintiffs employment by Defendant.

        11    None of the information contained in the Spreadsheet was derived

 using any personally identifiable financial information that is not publicly

 available.


        12.   The Spreadsheet is a list of names and street addresses that

 contains only publicly available information as that term is defined in 12 CFR

 § 1016. 3.

        13.   The Spreadsheet does not indicate that any of the individuals on

 the list is a consumer of a Defendant or of any other financial institution.

        14.   The Spreadsheet does not contam any nonpublic personal

 mformation as that term is defined m 12 CFR § 1016. 3.

        15.   Plaintiff worked for Defendant selling reverse mortgages for the

 next 11 years.
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 4 of 21




         16.   At some point prior to June 26, 2019, Defendant decided to stop

 selling reverse mortgages.

         17.   On June 26, 2019, Plaintiff received notice from Defendant that it

 would be closing the Reverse Mortgage Department, and that she and other

 employees would be separated from employment with Defendant as ofJuly 26,

 2019.

         18.   Based on her position and her years of service to Defendant,

 Plaintiffwas eligible for severance benefits pursuant to Defendant's Severance

 Pay Plan (see infra, at 119), the terms of which Defendant set forth in a written

 agreement (the "Severance Agreement"). Plaintiff executed the Severance

 Agreement and complied with all terms therein.

         19.   The Severance Agreement is part of the "M&T Bank Corporation

 Employee Severance Pay Plan" ("Severance Plan"), which is a welfare benefit

 plan administered by Defendant andgoverned by ERISA.

         20.   In the Severance Agreement, Defendant promised that it would

 pay Plaintiff her salary and continue her healfhcare benefits for 17 weeks

 following her last official day ofemployment (July 26, 2019).

         21.   The Severance Agreement further states that "[u]pon completion

 ofthe Severance Period, [PlamtifF] may elect to continue [her] health coverage

 as provided by the Consolidated Omnibus Budget Reconciliation Act of 1986,
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 5 of 21




 as amended ("COBRA"), Additional information concerning [PlaintifFs]

 COBRA rights will be mailed to [her] under separate cover."

       22.   On July 26, 2019, Plaintiffcompleted her last day of employment

 at Defendant and began her severance period after more than eleven years of

 service to Defendant.

       23.   At the time Plaintiff left employment with Defendant, she and her

 husband were both insured under Defendant's "Bank One Plan, " a Consumer

 Directed Health Plan group policy of health insurance for M&T Bank

 employees and thek family members.

       24.   On August 7, 2019, one week into Plaintiff's severance period, and

 before shehad even received a single payment under the Severance Agreement,

 Plamtiff received an email from Meghan Frank, a Human Resources Senior

 Employee Relations Specialist at Defendant, stating that "[a] review of your

 email traffic was conducted after your departure and revealed that you sent a

 client list spreadsheet to your husband's email address...This message also

 confirms that due to this violation, your severance benefits have been forfeited

 and will not be paid out to you."

       25.   The Spreadsheet was not a client list.
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 6 of 21




        26.     Plamtiffs act of emailing the Spreadsheet to herself and her

 husband was not a violation of the Severance Agreement, and was therefore

 not grounds on which to terminate the Severance Agreement.

        27.     After receiving the email from Ms. Frank, Plaintiff called Ms.

 Frank and asked for an explanation ofwhat was going on.

        28.     On that telephone call, Ms. Frank told Plaintiff she had breached

 her Severance Agreement and told Plamtififto "prove" that the list was not a

 client list.

        29.     Defendant never provided Plaintiff any written notice or

 explanation of its decision to terminate her benefits.

        30.     Nevertheless, Defendant has refused to pay Plaintiffher Severance

 Benefits, including her salary, as it promised to do in the Severance Agreement

 and is obligated to do as part of the Severance Plan

        31.     On August 16, 2019, Plaintiffs husband went to his doctor for a

 sudden medical condition. While at the doctor, the billing office informed him

 that Independent Health was refusmg to cover his medical expenses. The

 following Monday, August 19, 2019, Plaintiff contacted Independent Health

 andwas informed that Defendanthadterminated her and her husband's health

 msurance.
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 7 of 21




        32.   PlamtifF received no notice of any kind from Defendant that the

 health insurance benefits for PlamdfF or her husband would be terminated or

 were terminated, other than the above-described email from Ms. Frank.

        33.   The sudden loss of health insurance put Plamdff and her husband

 in grave danger of immediate, ureparable harm not only to their finances, but

 also to their physical health, wellbeing, and lives.

        34.   Defendant never provided any notice or explanation of its decision

 to immediately and without notice terminate PlaintiflF and her husband's

 healthcare benefits.



                            FIRST CLAIM FORRELIEF
                       Wrongful Termination of Severance Benefits

        35.   Plaintiff hereby realleges paragraphs 1 through 34 above as if set

 forth here in full.

        36.   The Severance Plan is an employee welfare benefit Plan and is

 governed by ER[SA.

        37.   Under the Severance Plan, based on her job title and years of

 employment, Plaintiff was entitled to her salary and healthcare benefits for a

 period of 17 weeks after her last day of employment.

        38.   The Severance Plan mcludes a provision authorizing the forfeiture

 of the Severance Benefits, but only upon the occurrence of sue defined events.
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 8 of 21




         39.   Defendant never provided notice to PlamdfFexplaining why her

 Severance Benefits were terminated, includmg which, if any, ofthe six events

 Defendant alleges occurred.

         40.      Plaintiffs mailing of the Spreadsheet to herselfand her husband

 does not meet the definition of any ofthose sue events.

         41.   Defendant violated Plaintiffs rights under ERISA and under the

 Severance Plan, and she is entitled to bring this action under 29 U. S.C.

 § 1132(a)(l)(B) to recover benefits due to her under the terms of the Severance

 Plan.

                       SECOND CLAEMFORRELIEF
                             Breach of Contract

         42.      Plamtiff hereby realleges paragraphs 1 through 41 above as if set

 forth here in full.

         43.   The Severance Agreement is a written contract between Defendant

 and Plaintiff.

         44.   Pursuant to the Severance Agreement, Defendant promised to

 provide Plaintiffwith certainbenefits, includingbutnot limited to continuation

 of her salary, healthcare benefits, and paid professional career transition

 assistance for 17 weeks.

         45.   Plaintiff complied with all terms of the Severance Agreement,

 including releasing Defendant from anypre-existing claims she may have had.
                                           8
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 9 of 21




       46.    By unilaterally    and without cause termmating          Plaintiffs

 severance benefits, includmg her severance pay, her healthcare benefits, and

 other benefits promised to her under the Severance Agreement, Defendant

 breached the Severance Agreement.

       47.   As a direct and proxunate result of Defendant's breach of the

 Severance Agreement as described above, PlaintifFhas suffered direct financial

 damages m an amount to be proved at trial.

       48.   As a further direct and proxunate result of Defendant's breach of

 the Severance Agreement as described above, Plaintiff has suffered foreseeable,

 consequential damages, mcludmg, but not limited to, increased interest on

 student loan payments that have been deferred as a result of Defendant's

 wrongful termination ofPlamtifFs severance package.

                          THIRD CLAIMFORRELIEF
       Wrongful Termination of Health Insurance Benefits under ERISA

       49.   Plaintiff hereby mcorporates each and every allegation contained

 in paragraphs 1 through 48 above as if fully set forth herein.

       50.   Prior to the end of her employment with Defendant, Plaintiff and

 her husband were insured under Defendant's "Bank One Plan, " a Consumer

 Directed Health Plan group policy of health insurance for M&T Bank

 employees and their family members, administered through Indq?endent

 Health, Group Number 13038.
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 10 of 21




         51    The policy ofgroup health insurance underwhichPlaintiffandher

  husband were insured, Defendant's "Bank One Plan, " a Consumer Directed

  Health Plan group policy of health insurance for M&T Bank employees and

  their family members, administered through Independent Health, Group

  Number 13038, meets the definition ofan employee welfare benefit plan under

  ERISA.

         52.   ERISA authorizes a participant of a plan to bring a civil action to

  recover benefits due under the terms ofthe plan, to enforce her rights under the

  terms of the plan, and to clarify her rights to future benefits under the plan. 29

  U. S. C. § 1132(a)(l)(B).

         53.   Defendant's termination of PlamtifFs health insurance plan was

  unlawful under ERISA and in violation of the terms of the health msurance

 plan.

         54.   Defendant's violations of ERISA have damaged Plaintiff in an

  amount to be determined at trial.

                    FOURTH CLAIMFORRELIEF
         Claim for Other Appropriate Relief Under ERISA § 502(a)(3)


         55.   Plaintiff hereby mcorporates each and every allegation contained

  in paragraphs 1 through 54 above as iffuUy set forth herein.




                                          10
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 11 of 21




        56.   Plaintiff is entitled to equitable relief under 29 U. S. C. § 1132(a)(3),

  including enjoimng Defendant from continumg to violate her rights under

  ERISA and the health insurance plan, and retroactively covering Plamtiffand

  her husband under the group policy of health insurance from the date of

  Defendant's termination onward, consistent with her rights under the

  Severance Plan, including the option of continuation coverage for up to 18

  months as provided in 29 U. S.C. § 1162.


                           FDFTH CLAIMFORRELIEF
              Failure to Provide Notice of Rights to Continue
                             Coverage Under COBRA

        57.   PlamdfFhereby mcorporates each and every allegation contained

  in paragraphs 1 through 56 above as if fully set forth herein.

        58.   Congress has recognized the need for employer-sponsored health

  msurance plans, such as the one in this lawsuit, to provide beneficiaries with

  the option to continue benefits under the plan even after termination of

  employment.

        59.   As    a   result,   under    the   Consolidated      Omnibus      Budget

  Reconciliation Act of 1985 ("COBRA"), codified in part at 29 U. S. C. § 1161 et

  seq., a sponsor of a group health care plan must provide that each qualified

  beneficiary who would lose coverage under the plan as a result ofa qualifying

  event" is entitled to elect continuation coverage under the plan.
                                           11
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 12 of 21




        60.    Termination of employment for any reason other than gross

  misconduct is a qualifying event.

        61.   Plaintiff was not terminated for gross misconduct.

        62.   29 U. S. C. § 1166 and prescribed federal regulations provide that,

  upon the occurrence of a qualifymg event, an employer who is also a plan

  administrator is required to provide qualified beneficiaries written notice of

  their rights to continue coverage within 44 days ofthe qualifying event. Such

  a notice must mclude:

              (a) The name of the plan under which continuation coverage is

                 available; and the name, address and telephone number of the

                 party responsible under the plan for the administration of

                 continuation coverage benefits;

              (b) Identification ofthe qualifymg event;

              (c) Identification, by status or name, of the qualified beneficiaries

                 who are recognized by the plan as being entitled to elect

                 continuation coverage with respect to the qualifying event, and |

                 the date on which coverage under the plan will terminate (or has

                 terminated) unless continuation coverage is elected;

              (d)A statement that each mdividual who is a qualified beneficiary |

                 with respect to the qualifying event has an independent right to

                                         12
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 13 of 21




                elect continuation coverage, that a covered employee or a

                qualified beneficiary who is the spouse of the covered employee

                (or was the spouse of the covered employee on the day before

                the qualifymg event occurred) may elect continuation coverage

                on behalf of all other qualified beneficiaries with respect to the

                qualifying event, and that a parent or legal guardian may elect

                continuation coverage on behalf of a minor chUd;

             (e) An explanation     of the plan's      procedures   for electing

                continuation coverage, including an explanation of the time

                period during which the election must be made, and the date by

                which the election must be made;

             (f) An explanation of the consequences offailing to elect or waiving

                continuation coverage, including an explanation that a qualified

                beneficiary's decision whether to elect continuation coverage

                will affect the future rights of qualified beneficiaries to

                portability of group health coverage, guaranteed access to

                individual health coverage, and special enroUment under part 7

                of title I of the Act, with a reference to where a qualified

                beneficiary may obtain additional information about such

                rights; and a description of the plan's procedures for revoking a

                                        13
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 14 of 21




                waiver of the right to continuation coverage before the date by

                which the election must be made;

             (g) A description of the continuation coverage that will be made

                available under the plan, if elected, mcluding the date on which

                such coverage will commence, either by providing a description

                of the coverage or by reference to fhe plan's summary plan

                description;

             (h)An explanation ofthe maximum period for which continuation

                coverage will be available under the plan, if elected; an

                explanation of the continuation coverage termination date; and

                an explanation of any events that might cause continuation

                coverage to be terminated earlier than the end of the maximum

                period;

             (i) A description of the circumstances (if any) under which the

                maximum period ofcontmuation coverage maybe extended due

                either to the occurrence of a second qualifying event or a

                determmation by the Social SecurityAdministration, under dde

                11or XVI ofthe Social Security Act (42 U. S. C. 401et seq. or 1381

                et seq. ) (SSA), that the qualified beneficiary is disabled, and the

                length of any such extension;

                                         14
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 15 of 21




             (j) In the case of a notice that offers continuation coverage with a

                maximum duration of less than 36 months, a description ofthe

                plan's requirements regarding the responsibility of qualified

                beneficiaries to provide notice of a second qualifymg event and

                notice ofa disability determination under the SSA, along with a

                description of the plan's procedures for providmg such notices,

                including the times within which such notices must beprovided

                and the consequences of failing to provide such notices. The

                notice shall also explain the responsibility of qualified

                beneficiaries to provide notice that a disabled qualified

                beneficiary has subsequently been determmed to no longer be

                disabled;

             (k)A description of the amount, if any, that each qualified

                beneficiary will be required to pay for contmuation coverage;

             (1) A description of the due dates for payments, the qualified

                beneficiaries' right to pay on a monthly basis, the grace periods

                for payment, the address to which payments should be sent, and

                the consequences ofdelayed payment and non-payment;

             (m)   An explanation      of the unportance       of keeping the

                administrator informed of the current addresses of all


                                        15
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 16 of 21




                 participants or beneficiaries under the plan who are or may

                 become qualified beneficiaries; and

              (n)A statement that the notice does not fully describe continuation

                 coverage or other rights under the plan, and that more complete

                 information regarding such rights is available in the plan's

                 summary plan description or from the plan admmistrator.

                 29 CFR § 2590. 606-4.

        63.   The notice must be addressed to both the participant and the

  participant's spouse. Id.

        64.    Defendant has failed to provide Plaintiffand Plaintiffs husband,

  a qualified beneficiary under the health msurance plan, notice as required by

  29 U. S.C. § 1166 and the regulations promulgated thereunder.

        65.   By wrongfully terminating Plaintiffs health insurance and failing

  to provide Plaintiff the opportunity to continue coverage under the plan,

  Defendantviolated Plaintiffs rights as guaranteedby COBRA.

        66.   An administrator who fails to meet the COBRA, notice

  requirements as describedabovemaybepersonally liable to theparticipant and

  any qualified beneficiary in the amount of $110 per day, per participant and

  per beneficiary. 29 U. S.C. § 1132(c); 29 CFR § 2575. 502c-l.



                                         16
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 17 of 21




        67.    Defendant is personally liable to Plamtiff and her husband, a

  qualified beneficiary, for its failure to provide notice of each's rights under

  COBRA, in an amount ofup to $110 per day per beneficiarybeginning, at the

  latest, on September 8, 2019, which is 44 days after the termination of

  Plaintiffs employment on July 26, 2019.

        68.    Plaintiff is entitled to compensatory and statutory damages for

  Defendant's wrongful termination of health care benefits and its failure to

  provide Plaintiffwith a continuation ofhealth care benefits as required under

  federal and state law.

                            SDCTH CLAIM FOR RELIEF

               Other Statutoiy Penalties Under ERISA§ 502(c)


        69.    Plaintiffhereby incorporates each and every allegation contained

  in paragraphs 1 through 68 above as if fully set forth herein.

        70.    ER[SA provides procedural rights to employee benefit plan

  participants such as Plaintiff.

        71.    By statute, if an employer makes a decision to deny benefits under

  an ERISA plan, it must provide adequate notice in writing to the participant

  setting forth the specific reasons for such denial, written in a manner calculated

  to be understood by the participant. 29 U. S.C. § 1133(1).


                                          17
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 18 of 21




        72.    It must also afford the participant a reasonable opportunity for a

  full and fair review of the decision. 29 U. S. C. § 1133(2).

        73.    The regulations promulgated under 29 U. S.C. § 1133 provide that

  the content of the written notice under 29 U. S. C. § 1133(1) shall include: (1)

  the specific reason or reasons for the denial; (2) specific reference to pertinent

  plan provisions on which the denial is based; (3) description of any additional

  material or information necessary for the claimant to perfect the claim and an

  explanation of why such material or information is necessary; and (4)

  appropriate information as to the steps to be taken if the participant wishes to

  submit her claim for review. 29 CFR § 2560. 503-1.

        74.    Defendant failed to provide Plaintiff with a notice regarding its

  decision to deny her Severance benefits, in violation of29 U. S.C. § 1133(1).

        75.    Defendant failed to provide plaintiff a reasonably opportunity for

  a full and fairreview ofits decisionto deny her Severance benefits, in violation

  of29 U. S.C. g 1133(2).

        76.    Defendant failed to provide PlamtifF with a notice regarding its

  decision to terminate her health insurance, in violation of29 U. S. C. § 1133(1).

        77.    Defendant failed to provide plaintiff a reasonably opportunity for

  a full and fair review of its decision to terminate her health insurance, in

 violation of 29 U. S. C. § 1133(2).

                                           18
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 19 of 21




        78.   Plaintiff requested from Defendant on August 7, 2019 an

  explanation for its decision to terminate her Severance benefits.

        79.   Defendant thereafter failed to provide Plaintiffwith a notice, as

  required under 29 U. S.C. § 1133, explaining its decision to terminate her

  severance benefits.


        80.   ERISA provides that any plan administrator who fails or refuses

  to comply with a participant's request for any mformadon which the

  administrator is required to provide under ERISA may be personally liable to

  such participant in the amount of up to $110 per day from the date of such

  failure and refusal. 29 U. S. C. § 1132(c); 29 CFR § 2575. 502c-l.

        81.   Because Defendant failed to provide Plaintiff with a written

  explanation of its decision terminating her benefits, PlamdfF is entitled to

  statutory penalties of $110 per day running from August 7, 2019, the date she

  asked for an explanation and was denied one.


                           PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that she be awarded:

        (a)   compensatory damages according to proof on its First Claim for

              Relief, estimated to be not less than $25, 000. 00;

        (b)   compensatory damages accordingto proofon its SecondClaim for

              Relief, estimated to be not less than $25,000.00, andconsequential
                                         19
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 20 of 21




              damages according to proof, together with interest at the New

              York statutory rate ofnine percent;

        (c)   compensatory and statutory damages according to proof on her

              Thu-d Claim for Relief;

        (d)   on her Fourth Claim for Relief, equitable relief in the form of an

              Order retroactively covering Plaintiff and her husband under the

              policy of group health insurance wrongfully terminated by

              Defendant consistent with the terms of the Severance Plan and

              Severance Agreement, includmg her right to continue coverage

              under COBRA at the expkation ofthe severance period;

        (e)   on her Fifth Claim for Relief, the maximum statutory penalties as

              allowed by law, running at a rate of $110 per day per participant

              and per beneficiary, beginning on the date by which Defendant

              was required to provide notice of rights under COBRA and

              through the date ofjudgment in this case;

       (f)    on her Sbcth Claim for Relief, the maximum statutory penalties as

              allowed by law, running at a rate of $110 per day beginning on

              August 7, 2019 and runnmg through the date ofjudgment in this

              case;

       (g)    all costs of suit herein;


                                          20
Case 1:19-cv-01152-LJV-JJM Document 28 Filed 10/03/19 Page 21 of 21




        (h)   attorneys' fees according to proof and as provided by 29 U. S. C.

              §1132(g);and,
        (i)   such other and further relief as the Court deems just and proper.

                           DEMANDFOR TURY TRIAL

        Plaintiff hereby demands a jury trial for all claims so triable.

  DATED:      October 3, 2019
              Buffalo, New York


                                        HAGERTy & BRADY


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                                          21
